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                         UNITED STATES BANKRUPTCY COURT
                                Middle District of Florida
                                   Orlando Division


IN RE:                                                  Case No:         6:14-bk-01818-KSJ

 Maryanne Karaman

                                                        Chapter 13
                                       Debtor



    TRUSTEES CONSENT TO DEBTOR'S AMENDED MOTION TO MODIFY
                               CONFIRMED PLAN
COMES NOW, Laurie K. Weatherford, the Chapter 13 Trustee in the above captioned case, and

consents to the entry of an Order granting the Debtor’s Motion to Modify Confirmed Plan (document

number 82).
                          pursuant to the attached spreadsheet
                                       Certificate of Service

      I HEREBY CERTIFY, that a true and correct copy of the foregoing has been furnished by the
United States mail or by electronic transmission to the parties listed below on the 9th day of May,
2018.


Debtor - Maryanne Karaman, 3500 Kayla Circle, Oviedo, FL 32765
Debtor's Attorney - Charles W Price, Price Law Firm, 400 Maitland Ave, Altamonte Springs, FL
32701


                                                                /S/ LAURIE K. WEATHERFORD
                                                                Chapter 13 Trustee
                                                                Stuart Ferderer
                                                                FL Bar No. 0746967
                                                                Ana DeVilliers
                                                                FL Bar No. 0123201
                                                                Attorney for Trustee
                                                                PO Box 3450
                                                                Winter Park, FL 32790
                                                                Telephone: 407-648-8841
                                                                Facsimile: 407-648-2665
                                                                E-mail: info@c13orl.com
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 DUE DATE                      14-1818 J        KARAMAN
   21ST                         3/1/2014                               10.0%                                CLAIM 350            CLAIM 300
                              Unsecured             Debtor Pmt       Tee Fee                 ATTY         MONITORING            MEDIATION
                  51                     51
   3/21/2014       1               $2.48                $760.00       $76.00                                                       $100.00
   4/21/2014       2               $2.48                $760.00       $76.00                                                       $100.00
   5/21/2014       3               $2.48                $760.00       $76.00 3 at                                        3 at      $100.00
   6/21/2014       4               $2.48                $760.00       $76.00 1 at           $50.00                       1 at       $50.00
   7/21/2014       5               $2.48                $760.00       $76.00               $100.00
   8/21/2014       6               $2.48                $760.00       $76.00               $100.00
   9/21/2014       7               $2.48                $760.00       $76.00 3 at          $100.00                                           7 at
  10/21/2014       8               $0.45 8 at           $760.00       $76.00 1 at           $24.00
  11/21/2014       9               $2.75                $847.00       $84.70               $100.00
  12/21/2014      10               $2.75                $847.00       $84.70               $100.00
   1/21/2015      11               $2.75                $847.00       $84.70               $100.00                                           4 at
   2/21/2015      12               $2.46                $847.00       $84.70               $100.00
   3/21/2015      13               $2.46                $847.00       $84.70               $100.00
   4/21/2015      14               $2.46 6 at           $847.00       $84.70 6 at          $100.00                                           3 at
   5/21/2015      15               $0.00                               $0.00                                                                 1 at
   6/21/2015      16               $0.00                               $0.00
   7/21/2015      17               $0.00 3 at                          $0.00 3 at
   8/21/2015      18               $0.00 1 at            $18.00        $1.80 1 at           $16.20
   9/21/2015      19               $3.50                $115.00       $11.50               $100.00
  10/21/2015      20               $3.50                $115.00       $11.50               $100.00
  11/21/2015      21               $3.50                $115.00       $11.50               $100.00
  12/21/2015      22               $3.50                $115.00       $11.50               $100.00
   1/21/2016      23               $3.50                $115.00       $11.50               $100.00
   2/21/2016      24               $3.50                $115.00       $11.50               $100.00
   3/21/2016      25               $3.50                $115.00       $11.50               $100.00
   4/21/2016      26               $3.50                $115.00       $11.50               $100.00
   5/21/2016      27               $3.50                $115.00       $11.50               $100.00
   6/21/2016      28               $3.50                $115.00       $11.50               $100.00
   7/21/2016      29               $3.50                $115.00       $11.50               $100.00
   8/21/2016      30               $3.50                $115.00       $11.50               $100.00
   9/21/2016      31               $3.50                $115.00       $11.50               $100.00
  10/21/2016      32               $3.50                $115.00       $11.50               $100.00
  11/21/2016      33               $3.50                $115.00       $11.50               $100.00
  12/21/2016      34               $3.50                $115.00       $11.50               $100.00
   1/21/2017      35               $3.50                $115.00       $11.50               $100.00
   2/21/2017      36               $3.50                $115.00       $11.50               $100.00
   3/21/2017      37               $3.50                $115.00       $11.50               $100.00
   4/21/2017      38               $3.50                $115.00       $11.50               $100.00
   5/21/2017      39               $3.50                $115.00       $11.50               $100.00
   6/21/2017      40               $3.50                $115.00       $11.50               $100.00
   7/21/2017      41               $3.50                $115.00       $11.50               $100.00
   8/21/2017      42               $3.50                $115.00       $11.50               $100.00
   9/21/2017      43               $3.50                $115.00       $11.50               $100.00
  10/21/2017      44               $3.50 26 at          $115.00       $11.50               $100.00
  11/21/2017      45             $282.50                $425.00       $42.50               $100.00
  12/21/2017      46             $282.50                $425.00       $42.50               $100.00
   1/21/2018      47             $282.50                $425.00       $42.50               $100.00
   2/21/2018      48             $282.50                $425.00       $42.50               $100.00
   3/21/2018      49             $282.50 5 at           $425.00       $42.50               $100.00
   4/21/2018      50             $579.50 1 at           $755.00       $75.50 32 at         $100.00
   5/21/2018      51           $7,165.30 1 at         $8,639.00      $863.90 1 at          $609.80
                                   $0.00                               $0.00
                                   $0.00                               $0.00
                                   $0.00                               $0.00
                                   $0.00                               $0.00
                                   $0.00                               $0.00
                                   $0.00                               $0.00
                                   $0.00                               $0.00
                                   $0.00                               $0.00
                                   $0.00                               $0.00                          ## at             ## at

LIQ 0                          $9,281.74             $25,689.00    $2,568.90              $4,800.00                                $350.00
   Tee Works                   $42,963.29                                                    ATTY             CLM 350             CLM 300
 8.18% TO US                          22%                                                 $4,800.00                                 350.00
        KO 1%               Disp $508.25                                                                                                            4-17-15 ORD GRANT MTN
Form 22C 36             2015 RTP Approved      2014 $5,636 and Part of 2016 $2,645
        Letter Sent for 2017 Tx Refund $4040   Included in this Motion to Modify Dkt 82                                                         PERM LOAN MOD AGRMT
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 DUE DATE
   21ST                             CLAIM 008                 REAL TIME
                                      OCWEN                 RESOLUTION
                 51
   3/21/2014      1                   $581.52        1 at LIEN STRIP
   4/21/2014      2                   $581.52
   5/21/2014      3                   $581.52
   6/21/2014      4                   $581.52
   7/21/2014      5                   $581.52
   8/21/2014      6                   $581.52
   9/21/2014      7                   $581.52
  10/21/2014      8                   $659.55
  11/21/2014      9                   $659.55
  12/21/2014     10                   $659.55
   1/21/2015     11                   $659.55
   2/21/2015     12                   $659.84
   3/21/2015     13                   $659.84
   4/21/2015     14                   $659.84
   5/21/2015     15 paid directly to Ocwen
   6/21/2015     16
   7/21/2015     17
   8/21/2015     18
   9/21/2015     19
  10/21/2015     20
  11/21/2015     21
  12/21/2015     22
   1/21/2016     23
   2/21/2016     24
   3/21/2016     25
   4/21/2016     26
   5/21/2016     27
   6/21/2016     28
   7/21/2016     29
   8/21/2016     30
   9/21/2016     31
  10/21/2016     32
  11/21/2016     33
  12/21/2016     34
   1/21/2017     35
   2/21/2017     36
   3/21/2017     37
   4/21/2017     38
   5/21/2017     39
   6/21/2017     40
   7/21/2017     41
   8/21/2017     42
   9/21/2017     43
  10/21/2017     44
  11/21/2017     45
  12/21/2017     46
   1/21/2018     47
   2/21/2018     48
   3/21/2018     49
   4/21/2018     50
   5/21/2018     51




                                                    ## at

LIQ 0                                 $8,688.36
   Tee Works                           CLM 008                  CLM 004
 8.18% TO US                         ONGOING
        KO 1%       4-17-15 ORD GRANT MTN
Form 22C 36             TO APPR OCWEN LOAN
                     PERM
        Letter Sent for       LOAN
                        2017 Tx      MOD
                                Refund $4040AGRMT
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 DUE DATE
   21ST

                  51
   3/21/2014       1
   4/21/2014       2
   5/21/2014       3
   6/21/2014       4
   7/21/2014       5
   8/21/2014       6
   9/21/2014       7
  10/21/2014       8
  11/21/2014       9
  12/21/2014      10
   1/21/2015      11
   2/21/2015      12
   3/21/2015      13
   4/21/2015      14
   5/21/2015      15
   6/21/2015      16
   7/21/2015      17
   8/21/2015      18
   9/21/2015      19
  10/21/2015      20
  11/21/2015      21
  12/21/2015      22
   1/21/2016      23
   2/21/2016      24
   3/21/2016      25
   4/21/2016      26
   5/21/2016      27
   6/21/2016      28
   7/21/2016      29
   8/21/2016      30
   9/21/2016      31
  10/21/2016      32
  11/21/2016      33
  12/21/2016      34
   1/21/2017      35
   2/21/2017      36
   3/21/2017      37
   4/21/2017      38
   5/21/2017      39
   6/21/2017      40
   7/21/2017      41
   8/21/2017      42
   9/21/2017      43
  10/21/2017      44
  11/21/2017      45
  12/21/2017      46
   1/21/2018      47
   2/21/2018      48
   3/21/2018      49
   4/21/2018      50
   5/21/2018      51




                       #### at                 ### at    ## at            ## at         ## at

LIQ 0
   Tee Works
 8.18% TO US
        KO 1%
Form 22C 36
        Letter Sent for 2017 Tx Refund $4040
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 DUE DATE
   21ST

                  51
   3/21/2014       1
   4/21/2014       2
   5/21/2014       3
   6/21/2014       4
   7/21/2014       5
   8/21/2014       6
   9/21/2014       7
  10/21/2014       8
  11/21/2014       9
  12/21/2014      10
   1/21/2015      11
   2/21/2015      12
   3/21/2015      13
   4/21/2015      14
   5/21/2015      15
   6/21/2015      16
   7/21/2015      17
   8/21/2015      18
   9/21/2015      19
  10/21/2015      20
  11/21/2015      21
  12/21/2015      22
   1/21/2016      23
   2/21/2016      24
   3/21/2016      25
   4/21/2016      26
   5/21/2016      27
   6/21/2016      28
   7/21/2016      29
   8/21/2016      30
   9/21/2016      31
  10/21/2016      32
  11/21/2016      33
  12/21/2016      34
   1/21/2017      35
   2/21/2017      36
   3/21/2017      37
   4/21/2017      38
   5/21/2017      39
   6/21/2017      40
   7/21/2017      41
   8/21/2017      42
   9/21/2017      43
  10/21/2017      44
  11/21/2017      45
  12/21/2017      46
   1/21/2018      47
   2/21/2018      48
   3/21/2018      49
   4/21/2018      50
   5/21/2018      51




LIQ 0
   Tee Works
 8.18% TO US
        KO 1%
Form 22C 36
        Letter Sent for 2017 Tx Refund $4040
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 DUE DATE
   21ST
                                                                        FINAL
                  51
   3/21/2014       1
   4/21/2014       2
   5/21/2014       3
   6/21/2014       4
   7/21/2014       5
   8/21/2014       6
   9/21/2014       7
  10/21/2014       8
  11/21/2014       9
  12/21/2014      10
   1/21/2015      11
   2/21/2015      12
   3/21/2015      13
   4/21/2015      14
   5/21/2015      15
   6/21/2015      16
   7/21/2015      17
   8/21/2015      18
   9/21/2015      19
  10/21/2015      20
  11/21/2015      21
  12/21/2015      22
   1/21/2016      23
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   3/21/2016      25
   4/21/2016      26
   5/21/2016      27
   6/21/2016      28
   7/21/2016      29
   8/21/2016      30
   9/21/2016      31
  10/21/2016      32
  11/21/2016      33
  12/21/2016      34
   1/21/2017      35
   2/21/2017      36
   3/21/2017      37
   4/21/2017      38
   5/21/2017      39
   6/21/2017      40
   7/21/2017      41
   8/21/2017      42
   9/21/2017      43
  10/21/2017      44
  11/21/2017      45
  12/21/2017      46
   1/21/2018      47
   2/21/2018      48
   3/21/2018      49
   4/21/2018      50
   5/21/2018      51




LIQ 0
   Tee Works
 8.18% TO US
        KO 1%
Form 22C 36
        Letter Sent for 2017 Tx Refund $4040
